       Case 18-10491-mdc         Doc 59
                                     Filed 07/25/19 Entered 07/25/19 14:48:15                   Desc Main
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                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       CHRISTOPHER S FRIEND                                  Chapter 13



                              Debtor                 Bankruptcy No. 18-10491-MDC


                                    Order Dismissing Chapter 13 Case and
                                 Directing Counsel to File Master Mailing List

        AND NOW, this ____________
                              25th         day of ___________________,
                                                           July              201_,
                                                                                 9 upon consideration of the Motion
to Dismiss filed by William C. Miller, standing trustee, this case is dismissed and it is further ORDERED, that
counsel for the debtor, shall file a master mailing list with the clerk of the Bankruptcy Court, currently updated
(if such has not been previously filed); and it is further

       ORDERED, that any wage orders are hereby vacated.




                                       _________________________________
                                                      Magdeline D. Coleman
                                           Chief U.S. Bankruptcy Judge


William C. Miller, Trustee
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